            Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 1 of 10


                                        0006
                                        Ryan Newman
                                        11.07.2022

09:46                                                                               eeese




                                      nace




                        Thu, Jul 7, 06:57

That's fine with            me.




                       Thu, Jul 14, 15:02




                                                                                            4:22-cv-302-RH-MAF

                                                                                        PLAINTIFF'S EX

                                                                                                 60
                                                                                            DEF 001288
                                                                                            PEX 60.001
        Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 2 of 10




09:46                                                                           hee




                                  Race




        DeSantis appoints Hillsborough
        Chief Judge Ronald Ficarrotta
        to commission
        tampabay.com

                    Tue, Jul 26,                    17:41




                  Wed, Jul 27,                     08:04




                  Wed, Jul 27,                      14:08




                                                                                      DEF 001289
                                                                                      PEX 60.002
        Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 3 of 10




09:46                                                                                  Ti peese




                                  Ryan

                  Wed, Jul 27, 14:08




                   Thu, Jul 28,                    07:44

               Fifteenth Judicial Circuit,                                      was   awarded the
               Distinguished Jurist Award by the Palm Beach
               County Chapter of the Florida Association of
               Women Lawyers.


               Chief Judge             Ronald Ficarrotta, Thirteenth
              Judicial             Circuit, is the recipient of the 2018
               Luis "Tony" Cabassa Award for his
               extraordinary contributions to the Tampa
               Hispanic Bar Association.

               Chief Judge Frederick Lauten,                                          Ninth
               Circuit, received the 2019 James G.
               Glazebrook Memorial Bar Service Award                                          by
               theOrange County Bar Association; this
               award is presented to a state or federal jurist
               who best demonstrates service to and
               Support of the legal profession.

              Judge Steven                       Leifman, Miami-Dade                       County,




                                                                                                  DEF 001290
                                                                                                  PEX 60.003
             Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 4 of 10




09:47                                                                                as


                                                                                     ams
                              nace
                         Mon, Aug 1,




                         Tue, Aug 2,                    17:17


Larry, come to the Gov's small
conference    room




                @yeeecc
                                                                                          DEF 001291
                                                                                          PEX 60.004
                 Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 5 of 10




13:33




                                              »
                                       Rochelle




                            Mon, Aug 1, 13:43

In   a   meeting. | can call you
when |      am   out.




Possibly. | need to talk to Ryan
about it.


He said he       can          try
                            Thu, Aug 4, 08:56

James said to wait                          on         filing the
EO with state

| will let   you Know when it's
filed




                                                                                         DEF 001292
                                                                                         PEX 60.005
                Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 6 of 10




13:33



                                      Rochelle>»

James said to wait on                                 Tiling the
EO with state

| will let   you Know when it's
filed




Emailed

To EOG email and HCSO




                            Thu, Aug 4,                     11:12


Ooo is sent




                                                                                        DEF 001293
                                                                                        PEX 60.006
                   Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 7 of 10




13:34



         on                             2    People >
                                                                                               ax


                                         iMessage
                               Fri,      Jul      29, 08:46
    Savannah       Kelly        Jefferson

    If you haven'talready                                                heard             -




    we are not doing the
    announcement Monday. | was
    thinking maybe Thursday if It'll
    be ready?



    Ye Wee LALLA   ColIANO od eclele

    Absolutely!


                               Tue, Aug 2, 10:01
    Savannah       Kelly        Jefferson


    Hey Larry! Can you ask
    Chronister if he has any victims
    of crimes for Thursday? JU
    would rather you reach out so
    we don't overwhelm him!




                                                                                               DEF 001294
                                                                                               PEX 60.007
                      Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 8 of 10




13:34                                                                                         eeese



<
                                           2    People >
                                                           ca                                   =

      ols hee ATAKe   Codane od

      Hey Larry! Can you ask
      Chronister if he has any victims
      of crimes for Thursday? JU
      would rather you reach out so
      we don’t overwhelm him!




        Facebook

    HCSO 2019 3rd     Quarterly Awards |
    Facebook
    Uploaded by: Hillsborough County           Sheriff's Office,        Sep    18, 2019
    5 Comments
    Watch the #TeamHCSO 3rd Quarterly Awards and                        help    us

    congratulate all those who were honored today!
    #SheriffChadChronister


    Images may be subject to copyright.           Learn More




        ©)
                          @Cash

                                                                                                      DEF 001295
                                                                                                      PEX 60.008
                        Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 9 of 10




 13:34


<
                                         Oe  2    People >
                                                                                                ax

     Mie ere tent
     Images   may be subject to    copyright.       Learn More




       | also want to   their                   use
       Faulkenberg location instead of
       the Ybor one! The space Is
Sk     better!




       Savannah         Kelly Jefferson

as     Woohoo! Thank you!




                                                                                                DEF 001296
                                                                                                PEX 60.009
                    Case 4:22-cv-00302-RH-MAF Document 135-24 Filed 11/29/22 Page 10 of 10




 iepec                                                                                       pease         le



                                          2    People >
         Savannah   Kelly Jefferson
         Woohoo! Thank you!




         Savannah   Kelly Jefferson
         Great! Thanks!

                               Wed, Aug 3, 18:29
         Savannah   Kelly Jefferson
         Can   someone send me
         Dugan’s number? Gonna call
as       and reconfirm everything!




         Savannah   Kelly Jefferson




                                                                                                     DEF 001297
                                                                                                     PEX 60.010
